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Dynamite Marketing, Inc.

                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NEW YORK

Dynamite Marketing, Inc.,
                                           CIVIL ACTION NO.:
                        Plaintiff,

v.                                         COMPLAINT FOR DESIGN
                                           PATENT INFRINGEMENT,
                                           TRADEMARK INFRINGEMENT,
The WowLine, Inc., Nancy J.                TRADE DRESS
Krosser, Adam J. Krosser,                  INFRINGEMENT, FALSE
individually and d/b/a                     DESIGNATION OF ORIGIN,
www.wowline.com, Sherman                   UNFAIR COMPETITION AND
Specialty Inc; Sherman                     UNJUST ENRICHMENT
Specialty LLC;
www.superiorpromos.com;
www.usimprints.com;
www.4allpromos.com; Unknown
Websites 1-10; Various John
Does 1-10, and Unknown
Entities 1-10,

                        Defendants.



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      Plaintiff Dynamite Marketing, Inc. (“Dynamite” or

“Plaintiff”), through its attorneys, sues defendants

named above and says:

                        STATEMENT OF THE CASE

      This is a suit by Dynamite against Defendants The

WowLine, Inc., Nancy J. Krosser, Adam J. Krosser,

Sherman Specialty Inc., Sherman Specialty LLC;

(collectively referred to as “Wow” or “Defendants” or

“Co-Defendants”), individually and doing business as

www.wowline.com; www.superiorpromos.com;

www.usimprints.com; www.4allpromos.com; Unknown

Websites 1-10; Unknown John Does 1-10, and Unknown

Entities 1-10 for permanent injunctions, damages,

treble damages or profits, compensatory damages,

punitive damages, pre-judgment interest, attorneys’

fees and costs from defendants for its willful and

malicious acts.         Namely, Defendants are being sued by

Dynamite as a result of Defendants’ sale, offers for

sale, distribution, promotion and advertisement of


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unauthorized and illegal copies of Dynamite’s product

the Wallet Ninja, which is a flat, credit-card shaped

Swiss army knife-like tool, with 18 tools, by using

Dynamite’s design, trademark, and trade dress.

      As set forth below, the unlawful acts of Defendants

constitute design patent infringement, trademark

infringement, false designation of origin, false

marking, unfair competition and unjust enrichment under

Federal and New York common law.

             SUBJECT MATTER JURISDICTION AND VENUE

                    Subject Matter Jurisdiction

      1.    This Court has jurisdiction under 17 U.S.C.

§101 et seq.; 28 U.S.C. §1331(federal question); under

the Patent Laws of the United States, 35 U.S.C. § 100

et seq.; and under 28 U.S.C. §1338 (design patent, and

trademark). This Court has jurisdiction over

infringement claims and claims for trademark

infringement under 15 U.S. Code § 1121(a) and unfair

competition asserted in this action pursuant to 28

U.S.C. § 1338(b).


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      2.    This Court has supplemental jurisdiction over

the claims in the Complaint that arise under the

statutory and common law of the State of New York

pursuant to 28 U.S.C § 1367(a) because the state law

claims are so related to the federal claims that they

form part of the same case or controversy and derive

from a common nucleus of operative facts.

                                   Venue

      3.    Venue is proper in the Court pursuant to 28

U.S.C. § 1391(b), 28 U.S. Code § 1332 and/or § 1400(a)

because a substantial part of the events of omissions

giving rise to the claims asserted herein occurred

within this District and were directed to this

District. Furthermore, venue is proper in New York

because the co-defendants The WowLine, Inc., Nancy J.

Krosser, and Adam J. Krosser, individually and d/b/a

www.wowline.com, and Sherman Specialty Inc; all have

the same address in this District in the State of New

York, namely, 141 Eileen Way, Syosset, New York 11791,

and co-defendant Sherman Specialty LLC have an address


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in this judicial District at 300 Jericho Quad West,

#240, Jericho, New York 11753, and to the best of the

Plaintiff’s knowledge and belief, all of the involved

co-defendant companies, i.e., The WowLine, Inc.,

Sherman Specialty Inc., and Sherman Specialty LLC, are

either registered as corporations and/or limited

liability companies in New York State, or are doing

business in New York as New York State companies, and

co-defendant, Nancy J. Krosser, and Adam J. Krosser,

are residents and citizens of the State of New York,

whereby this court is convenient as being located in

New York State and has jurisdiction over co-defendants’

business and personal address, and there is no adequate

alternative forum to hear the case (Fed. R. Civ. P.

4(k)(2)).

                      PARTIES AND JURISDICTION

      4.    Dynamite is a corporation organized and

existing under the laws of the State of New York,

having an office and principal place of business at




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2258 84th Street, 3rd Floor, Brooklyn, New York 11214.

Dynamite conducts business in this District.

      5.    Dynamite is the owner of the U.S. Design Patent

Registration Number D751,877 entitled WALLET CARD MULTI

TOOL (a copy thereof is attached as Exhibit A).

      6.    Dynamite is the owner of the U.S. Trademark

Registration Number 4,532,869 for the mark WALLET

NINJA. A copy of the trademark registration certificate

is attached as Exhibit B. The trademark in question is

registered and being used in International Class 8 in

respect of “Multi-function hand tools comprised of

screwdrivers, hex wrenches, bottle opener, can opener,

peeler, cell phone stand, box opener, letter opener,

and ruler, with all of the foregoing goods sold as a

unit”.

      7.    Upon information and belief, Defendants Wow

actively conduct business and their infringing

activities to the detriment and in violation of

Plaintiff’s design patent, trademark, trade dress and

other rights, throughout the United States on behalf of


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themselves at their website www.wowline.com and at

other websites, such as, but not limited to,

www.superiorpromos.com; www.usimprints.com;

www.4allpromos.com, through the Internet, and possibly

at other websites currently unknown to Plaintiff, in

and directed to this District.

      8.    Defendants have committed the acts complained

of herein in this District. Defendants knew their

wrongful acts would have a devastating impact upon

Dynamite - who Defendants knew to be located and

operating its business in New York; and Defendants

specifically directed their infringing actions against

Dynamite and its property in this District.

      9.    Upon information and belief, Defendants own and

control the website <www.wowline.com> (the “WowLine

Website”). Upon information and belief, the WowLine

Website has been used to appropriate Dynamite’s

design(s) and trademark(s) by selling nearly identical

knock-off versions of Dynamite’s WALLET NINJA credit

card sized Swiss-knife like tool product in this


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 District and advertise, distribute, promote, offer for

 sale and sell credit card sized tools that look nearly

 identical to Dynamite’s WALLET NINJA tool, and by using

 Plaintiff’s WALLET NINJA trademark as a keyword in its

 adwords campaign, and by using the unique trade dress

 of Dynamite’s WALLET NINJA credit card sized 18-part

 tool    within this District, wherein said knock off

 versions of Plaintiff’s credit card sized 18-part tool

 have further been transported in and/or to this

 District in violation of various intellectual property

 rights of Dynamite’s. Presumably, Defendants have the

 infringing goods manufactured in the People’s Republic

 of China, at a location and facility that are currently

 unknown to the Plaintiff.

        10. Upon information and belief, Defendants own

 and/or control the following websites such as

 www.superiorpromos.com (the “Superiorpromos Website”);

 www.usimprints.com (the “Usimprints Website”); and, but

 not limited to www.4allpromos.com (the “4allpromos

 Website”). All of these Defendants’ Websites advertise


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 the knock off versions of Plaintiff’s credit card sized

 18-part tool, where such knock off versions of

 Plaintiff’s tool have further been transported in

 and/or to this District in violation of various

 intellectual property rights of Dynamite’s.

       11. Upon information and belief co-Defendants are

 all either individual residents of the State of New

 York, or companies registered to do business and are

 actually doing business in, and have a registered and

 physical address in the State of New York and in this

 District. Upon information and belief, corporate co-

 Defendants are operated and controlled entirely by

 individual co-Defendants and are entities and/or alter

 egos that are used to manufacture, advertise, sell

 and/or offer for sale infringing credit card sized 18-

 part tool as complained herein including but not

 limited to retail and on-line markets. This Court has

 jurisdiction over The WowLine, Inc., Sherman Specialty

 Inc and Sherman Specialty LLC, because upon information

 and belief, said infringing goods are being sold,


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 advertised and put in streams of commerce in this

 District and directed to this District.

       12. Upon information and belief, the WowLine

 Website, as well as the Superiorpromos Website, the

 Usimprints Website, and, but not limited to, the

 4allpromos Website, have all been used to advertise,

 distribute, promote, offer for sale and sell the credit

 card 18-part tool in commerce, in violation of

 Plaintiff’s design patent, trademark, trade dress, and

 other intellectual property rights, in this District.

       13. This Court has personal jurisdiction over the

 individual co-defendants Nancy J. Krosser and Adam J.

 Krosser, because they are identified as co-owners of

 the corporate co-Defendants The WowLine, Inc., Sherman

 Specialty Inc, and Sherman Specialty LLC, all in

 violation of Plaintiff’s design patent, trademark,

 trade dress, and other intellectual property rights of

 the Plaintiff’s, said patent application being a basis

 of unfair competition against Dynamite because the

 Defendants knowingly violated 28 U.S.C. § 1338. Co-


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 Defendants have been using Plaintiff’s trademark WALLET

 NINJA as part of their keyword in their adwords

 campaign, and advertised such adwords on their knock

 off goods directed to this District and they are

 primary participants in the alleged action complained

 of herein. The individual co-defendants Nancy J.

 Krosser and Adam J. Krosser, have purposefully availed

 themselves to US District Courts as they have approved

 the use of such fraudulent adwords advertisement

 knowing it would influence the market in this District.

       14. This Court has personal jurisdiction over the

 individual co-Defendants Nancy J. Krosser and Adam J.

 Krosser, because they have sold and continue to sell

 knock off products in this District, and/or in the

 streams of commerce with knowledge that said products

 would be sold in this District. Upon information and

 belief, such sales by the co-Defendants are

 substantial, continuous, and systematic.

                           STATEMENT OF CLAIM




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       15. Dynamite is a leading innovator and marketer of

 various products and is in the business of bringing

 useful products to the market focusing on needs of

 individuals and families focusing on useful products

 related to light-duty tools, gadgets, and the like.

       16. Plaintiff had an idea of a unique, novel and

 distinct design of a credit card sized 18-part tool,

 back in or around the year 2013. The Plaintiff began

 marketing and selling its credit card sized 18-part

 tool under a trademark WALLET NINJA on or about August

 20, 2013. Plaintiff sells its tool on its website at

 $9.99 for a WALLET NINJA-branded tool, or $11.99 for a

 WALLET NINJA 2.0-branded tool.              Displayed below is

 Plaintiff’s product in question:




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       17. On or about September 11, 2013, Plaintiff filed

 a United States Trademark Application for the mark

 WALLET NINJA in respect of “Multi-function hand tools

 comprised of screwdrivers, hex wrenches, bottle opener,

 can opener, peeler, cell phone stand, box opener,

 letter opener, and ruler, with all of the foregoing

 goods sold as a unit”. The Trademark application Serial

 Number 86/062,277 registered on May 20, 2014 under U.S.

 Trademark Registration Number 4,532,869 with the USPTO.

       18. On February 26, 2014, Alex Shlaferman, the

 owner of Dynamite, and the inventor of the design for

 the WALLET NINJA credit card sized 18-part tool, filed

 a design patent application for his invention of a

 unique, novel and distinct design of a credit card

 sized 18-part tool, with the United States Patent and

 Trademark Office. The application received the Serial

 Number of 29/483,224. The patent in question registered

 on March 22, 2016, under the Design Patent Number

 D751,877.




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       19. Plaintiff’s WALLET NINJA product took off and

 is now the most popular, number 1 selling compact

 portable multi-part tool on the Internet that is

 capable of being carried in a wallet.

       20. Defendants unlawfully and willfully simply

 blatantly copied Plaintiff’s popular concept of a

 credit card sized 18-part tool, by repositioning some

 of its features on the opposite edge of the credit card

 shaped tool, and began selling knock off versions of

 Plaintiff’s product, which knock off versions look

 identical, or nearly identical to Plaintiff’s product,

 on various websites on the Internet, as is described in

 detail in this complaint.            Defendants even call their

 knock off product in the same or similar manner than

 the Plaintiff’s. Plaintiff markets its product on the

 Ineternet as a “Wallet Ninja 18-in-1 Multi-purpose

 Credit Card Size Pocket Tool”. Defendants market their

 knock off much cheaper versions of Plaintiff’s tool as

 “18-in-1 Credit Card Sized Tool”. Defendants sell their

 knock off tools at $1.40 per item if one orders 5000


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 items. There have been instances of actual confusion

 among the consumers where Plaintiff’s customers asked

 Plaintiff why Plaintiff sells its tools at $9.99, when

 its own Plaintiff’s tools are sold at $1.40 at WOWLine,

 Defendants’, website. Images of the Defendants’ knock

 off copies of Plaintiff’s product are displayed below:




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       21. Plaintiff’s credit card shaped and sized 18-

 part tool, i.e., the WALLET NINJA tool, exemplifies the

 business and values of Dynamite. The WALLET NINJA tool

 is unique. It has a very unique and distinct

 appearance, where the positioning of various small

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 tools such as a screw-driver, a bottle opener, a

 wrench, etc., on the edges of the credit-card shaped

 metal tool is very well thought through and

 distinctive, in order to make the tool stand out and be

 attractive. The WALLET NINJA tool embodies Dynamite’s

 commitment to innovation and to providing its customers

 with the tools they may need in a pinch, but which are

 compact and which all fit in their wallet.

       22. The WALLET NINJA tool incorporates a trade

 dress comprising a distinct “look and feel” of

 elements. This trade dress includes the placement of

 the various tools on the edges and in the middle of the

 credit card shaped and sized square piece of metal,

 which serves as an 18-part tool. Plaintiff’s multi-

 function hand tool is comprised of edges that work as a

 screwdriver, hex wrench, bottle opener, can opener,

 peeler, cell phone stand, box opener, letter opener,

 and ruler, all combined in one credit card shaped and

 sized unit. These elements of the tool are used on

 Plaintiff’s WALLET NINJA tools in combination to create


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 Dynamite’s WALLET NINJA trade dress. Dynamite’s tool

 incorporates a distinctive visual design and

 positioning of the tools that has become readily

 identifiable by the consuming public as originating

 from Dynamite.

       23. The distinctive and innovative “look and feel”

 of Plaintiff’s WALLET NINJA tool includes the following

 elements that together and in combination create an

 overall visual impression unique to Dynamite, such as a

 distinctive credit card sized and shaped multi part

 hand tool featuring multi-function hand tool comprised

 of edges that work as a screwdriver, hex wrench, bottle

 opener, can opener, peeler, cell phone stand, box

 opener, letter opener, and ruler, all combined in one

 credit card shaped and sized unit.

       24. Plaintiff has contacted Defendants in writing

 through its lawyers numerous times, demanding that

 Defendants stop their infringing activities, namely,

 that Defendants stop selling their knock off versions

 of Plaintiff’s product, thus violating Plaintiff’s


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 numerous intellectual property rights. Defendants have

 to date refused to stop their infringing activities.

 Hence this lawsuit.

       25. The WALLET NINJA tool is advertised and sold in

 commerce by Dynamite, in this District, and is notably

 creative and new. The tool, even absent the name WALLET

 NINJA, is easily recognizable by being the size of a

 credit card, and by having a very distinct outline of

 its edges, the indentations in which work as various

 small tools that come in handy in everyday life, such

 as a bottle opener, a can opener, a screwdriver, a

 wrench, an inch ruler, a slit for inserting a credit

 card in order to make the tool work as a portable phone

 stand, etc.

       26. Plaintiff’s WALLET NINJA tool has been such a

 smashing success for the Plaintiff, and Plaintiff’s

 WALLET NINJA tool has become so popular among the

 consumers, that many unscrupulous operators such as the

 Defendants have begun shamelessly and illegally copying

 the product in question, selling counterfeit fake


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 copies of the product. Plaintiff has been tirelessly

 fighting against such fakes, by taking down postings on

 the Internet by such unscrupulous operators, which

 advertise counterfeit products for sale, and by seizing

 counterfeit goods by the Customs at the border. The

 current lawsuit represents one of the efforts by

 Plaintiff to stop illegal sales of counterfeit copies

 of its WALLET NINJA tool, which illegal sales have been

 hurting Plaintiff’s bottom line tremendously, eating

 into Plaintiff’s profits, depriving Plaintiff of

 revenue, and contaminating the marketplace with knock-

 offs of inferior quality, thus providing the

 unsuspecting customers with an inferior product.

 Plaintiff’s tool sells retail at $9.99 to $11.99.

 Defendants sell their counterfeit fake copies of

 Plaintiff’s tool at $1.40 per piece, if the customers

 order 5000 pieces. Defendants sell such fakes in bulk

 in increments by thousands, which makes a reasonable

 observer to conclude that Defendants sell many

 thousands of such fake products, resulting in great


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 monetary and reputational damage to the Plaintiff.

 There has been actual confusion in the marketplace

 among the consumers. Plaintiff has received inquiries

 from its customers asking why the Plaintiff sells its

 goods so expensively, i.,e., at $9.99 per item, and why

 the customers have to pay so much, when there are

 presumably same products on the Internet for sale on

 Defendants’ websites at $1.40. Such confusion, that

 Defendants have caused in the minds of the consumers as

 to the source of the genuine Plaintiff’s products, and

 fake Defendants’ knockoffs, has been resulting in great

 financial and reputational damage to the Plaintiff, and

 therefore, Defendants’ illegal conduct in that respect

 needs to be stopped immediately.

       27. Defendants illegally and without Plaintiff’s

 permission, consent or license, copied Plaintiff’s tool

 and have been selling it on their websites on the

 Internet. Defendants, in their attempt to make their

 knock off tool as distinct as possible from Plaintiff’s

 tool, moved the bottle opener and the can opener parts


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 from the right hand side to the left hand side of the

 credit card sized and shaped tool, and moved the box

 opener part from the left hand side to the right hand

 side. However, the overall look and impression of the

 knock off tool is identical or nearly identical to the

 Plaintiff’s original WALLET NINJA tool. For the sake of

 displaying the glaring similarities between the

 respective products and for comparison, the original

 genuine WALLET NINJA and the knock off tool are both

 displayed below side by side:



 Plaintiff’s Original Tool:                Defendant’s Knock Off Tool:




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 28. Additionally, and this came to the attention of the

 undersigned in the last minute, literally minutes

 before the filing of the present complaint, the

 counterfeit activities by the Defendants are now so

 brazen that they defy belief. Not only Defendants have

 tried to make their counterfeit product look somewhat

 different to Plaintiff’s authentic product, by

 repositioning some of the cut outs from the right edge

 of the WALLET NINJA tool to the left edge, and vice

 versa, in order to try and defeat a design patent

 infringement claim, but now Defendants have gone ever

 farther, dispensing altogether with any caution and now

 blindly and outright copying Plaintiff’s product to the

 tee without any changes whatsoever, and selling the

 counterfeit product to large companies, such as Wells

 Fargo Bank. Please see below:




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 The WALLET NINJA in the above image, on the left hand

 side, with the “YOUR LOGO HERE!” inscription is the

 authentic product. The one on the right, with “WELLS

 FARGO” on it, is a fake counterfeit knock off copy of

 Plaintiff’s WALLET NINJA that Defendants sold to Wells

 Fargo. The knock off fake looks 99% exactly the same as

 the original genuine Plaintiff’s product, save for the



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 wave-shaped slit in Defendant’s fake, versus the

 straight slit in the authentic product sold by

 Plaintiff, and the position of the #2 wrench cut out

 being moved further to the right along the bottom edge

 in the fake in comparison to its position in the

 authentic product.

       29. This Court has jurisdiction to resolve claims

 made herein by Dynamite for damages that concern and

 relate to Defendant’s actions for design patent

 infringement, trademark infringement, trade dress

 infringement, false marking, unfair competition and

 unjust enrichment.

       30. In the following, Dynamite states its claims

 for damages sustained by the intentional actions of

 Defendants and requests the court grant it damages,

 enhanced damages, treble damages for willful

 infringement, legal fees, an injunction and other

 relief as deemed necessary under the circumstances.




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                                   COUNT I

   Design Patent Infringement (Infringement of the D’877

                                   Patent)

       31. Dynamite incorporates all above allegations as

 if set forth completely herein.

       32. Dynamite is the exclusive owner of The US

 Design Patent D751,877 (the “D’877” Patent).

       33. The claimed design of the D’877 Patent is shown

 in Figures 1 through 4 of the patent and described in

 the accompanying figure descriptions. See Exhibit A.

 Representative images are below:




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       Fig. 1




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       Fig. 2




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       Fig. 3




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       Fig. 4




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       34. Defendants offer a knock off version of the

 claimed design for sale, including through their

 various websites. A representative image of knock off

 credit card sized 18-part tool as taken from

 Defendants’ WowLine Website is below:

 • SALES TOOLS




 ASI# 98360 / PPAI# 112440 /SAGE# 52510




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 18-IN-1 CREDIT CARD SIZED TOOL
 #TOL4
 • QUANTITY
 • 150
 • 250
 • 500
 • 1000
 • 2500
 • 5000
 •
 • ESTIMATOR
                                   Request Quote
                                   Request Sample
                                       Email
 FOLLOW US

 •

 •

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       35. Defendants copied the entire Plaintiff’s tool

 and have sold and continue to sell such counterfeit

 tools in US commerce including in this District.

       36. In the eye of the ordinary observer familiar

 with the relevant prior art, giving such attention as a

 purchaser usually gives, the claimed design of the

 D’877 patent and design of Defendant’s counterfeit tool

 are substantially the same, such that the ordinary

 observer would be deceived into believing that the

 credit card shaped and sized 18-part tool design of the

 Defendants is the design claimed in the D’877 patent.

       37. Dynamite has never authorized Defendants to

 make, use, offer to sell or sell its patented tool or

 the infringing products.

       38. The foregoing acts of infringement are willful,

 intentional, and in disregard of and with indifference

 to the rights of Dynamite.

       39. Defendants have directly infringed, and

 continue to directly infringe, the D’877 patent by


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 making, using, offering to sell, selling and/or

 importing their counterfeit tool, having substantially

 the same ornamental design as the design claimed in the

 D’877 patent, in violation of 35 U.S.C. §271(a) and

 289.

        40. Upon information and belief, Defendants also

 induced, and continues to induce, others to infringe

 the D’877 patent by encouraging and promoting the use

 and/or sale by others of the infringing tool on various

 websites, that infringe the D’877 patent, in violation

 of 35 U.S.C. § 271(b).

        41. Defendants have had actual knowledge of the

 D’877 patent since at least the date in the year 2018

 on which Defendants received the first cease and desist

 letter from the Plaintiff’s then attorneys.

        42. Upon information and belief, Defendants have

 sold and continue to sell, offer to sell, distribute

 and market the credit card shaped and sized 18-part

 tool that infringes the D’877 patent, including the

 WALLET NINJA 18-in-one tool, to end consumers and/or


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 resellers with the intent that these parties will use,

 market, offer to sell and/or sell the products in the

 United States in a manner that infringes the D’877

 patent.

       43. Upon information and belief, Defendants knew or

 should have known that the use, marketing, offering to

 sell and selling of the infringing products by

 Defendants on their website or websites of others, or

 their customers would directly infringe the D’877

 patent.

       44. Defendants’ direct and induced infringement of

 the D’877 patent has caused and will continue to cause

 damage to Plaintiff.

       45. Defendants’ direct and induced infringement has

 also caused and will continue to cause irreparable harm

 to Dynamite unless and until such infringing conduct is

 enjoined pursuant to 35 U.S.C. § 283 and/or the

 equitable powers of this Court.

       46. Upon information and belief, Defendants’ acts

 of infringement have been or will be undertaken with


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 knowledge of the D’877 patent. Such acts constitute

 willful infringement and make this case exceptional

 pursuant to 35 U.S.C. §§ 284 and 285, and entitle

 Dynamite to enhanced damages, treble damages, and

 reasonable attorney fees.

       47. As a result of Defendants’ infringement of

 Dynamite’s exclusive rights under the design patent in

 question, i.e., D’877 Patent, Dynamite is entitled to

 relief pursuant to under 28 U.S.C. §1338, and to its

 attorneys' fees and costs pursuant to 35 U.S.C. §§ 284

 and 285.

       48. The acts of Defendants are causing and, unless

 enjoined and restrained by this Court, will continue to

 cause Dynamite irreparable injury. Dynamite has no

 adequate remedy at law. Pursuant to 35 U.S.C. §§ 284

 and 285, Dynamite is entitled to injunctive relief

 prohibiting Defendants from further infringing

 Dynamite’s design patent and ordering that they destroy

 all unauthorized copies of the patented tools that they

 are currently selling on their and other websites.


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                                  COUNT II

     Trademark Infringement (Infringement of the WALLET

                NINJA Trademark Reg. No.4,532,869)

       49. Dynamite incorporates all above allegations as

 if set forth completely herein.

       50. Dynamite is the exclusive owner of US Trademark

 Registration Number 4,532,869 for the mark WALLET

 NINJA, which is registered in International Class 8, in

 respect of “Multi-function hand tools comprised of

 screwdrivers, hex wrenches, bottle opener, can opener,

 peeler, cell phone stand, box opener, letter opener,

 and ruler, with all of the foregoing goods sold as a

 unit”. The trademark registration is valid and remains

 registered before the USPTO. The Plaintiff has been

 using the trademark WALLET NINJA continuously in US

 commerce over more than a five-year period since Augus

 20, 2013, and as such, the trademark has become

 incontestable.

       51. Defendants have unlawfully copied Plaintiff’s

 trademark and have been advertising and selling their


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 counterfeit tools, i.e., identically or nearly

 identically looking tools that Plaintiff sells, in this

 District, and continues to sell in US commerce

 including in this District.

       52. Defendants have further unlawfully been using

 Plaintiff’s WALLET NINJA trademark as a keyword in its

 adwords campaign on the Internet, in order to divert

 traffic from Plaintiff’s website to Defendants’

 webdsite(s), in order induce the unsuspecting and

 confused public into buying Defendants’ counterfeit

 tools, i.e., which are identically or nearly

 identically looking tools that Plaintiff sells, as

 opposed to purchasing Plaintiff’s tools, which the

 Plaintiff sells in this District, and continues to sell

 in US commerce including in this District.

       53. Dynamite has never authorized Defendants to use

 its trademarks in respect of identical and similar

 tools to those of the Plaintiff.




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       54. The foregoing acts of infringement are willful,

 intentional, and in disregard of and with indifference

 to the rights of Dynamite.

       55. As a result of Defendants’ infringement of

 Plaintiff’s exclusive trademark rights, Plaintiff is

 entitled to relief pursuant to trademark rights under

 15 U.S. Code § 1121(a), and to its attorneys' fees and

 costs pursuant to 15 U.S.C. §1117(a).

       56. The acts of Defendants are causing and, unless

 enjoined and restrained by this Court, will continue to

 cause Plaintiff irreparable injury. Plaintiff has no

 adequate remedy at law. Pursuant to 15 U.S.C. §§1116,

 Plaintiff is entitled to injunctive relief prohibiting

 Defendants from further infringing Plaintiff’s

 trademark and ordering that Defendants stop advertising

 for sale their counterfeit tools by using Plaintiff’s

 trademarks.

                                 COUNT III

   Trade Dress Infringement/Unfair Competition, 15 U.S.C.

                                   § 1125


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       57. Dynamite incorporates all above allegations as

 if set forth completely herein.

       58. Dynamite markets, offers, sells, and delivers

 in U.S. commerce its distinct WALLET NINJA multi-

 function tool, which is a multi-function credit card

 shaped and sized 18-in-one tool products through its

 website and throughout the Internet.

       59. Prior to Defendants’ conduct that forms the

 basis for this Complaint, consumers had come to

 associate the distinctive “look and feel” of the WALLET

 NINJA multi-function tool.

       60. Through its promotional efforts, business

 conduct, and continuous sales of the WALLET NINJA

 multi-function tool and its associated trade dress,

 Dynamite has developed and maintained customers

 globally and throughout the United States, including in

 the State of New York. Through its widespread and

 favorable acceptance and recognition by the consuming

 public, the “look and feel” of Dynamite’s WALLET NINJA

 multi-function tool has become an asset of substantial


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 value as a symbol of Dynamite, its high quality

 products and services, and its goodwill.

       61. Accordingly, Dynamite has established valid and

 enforceable rights in the “look and feel” of the WALLET

 NINJA multi-function tool, as described above.

       62. Notwithstanding ’s preexisting valid and

 enforceable rights in the “look and feel” of the

 Dynamite WALLET NINJA multi-function tool, Defendants,

 without permission or approval, are using Dynamite’s

 trade dress on their own knock off tools by offering

 for sale their own knock off tools that have identical

 or substantially the same “look and feel” as Dynamite’s

 WALLET NINJA multi-function tool, which knock off tools

 Defendants sell and continue to sell in the United

 States, including in New York State.

       63. As a result of Defendants’ unauthorized sale of

 their knock off tools, Defendants’ have been using and

 continue to use without authorization Dynamite’s trade

 dress in connection with related products and services.




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       64. Dynamite and Defendants sell (and have been

 selling) their respective products to customers and

 clients and/or the relevant consumer base in the same

 geographical locations and through the same trade

 channels.

       65. Defendants are direct competitors of Dynamite.

       66. Defendants’ unauthorized use of the “look and

 feel” of the Dynamite’s WALLET NINJA multi-function

 tool, in connection with offering for sale and selling

 counterfeit and competing products is not authorized by

 Dynamite and is likely to cause consumer confusion and

 mistake, and to deceive consumers as to the source,

 origin, or affiliation of Plaintiff’s products.

       67. Dynamite has a discernible interest in the

 “look and feel” of the Dynamite WALLET NINJA multi-

 function tool, and Dynamite has been, and continues to

 be, injured by Defendants’ unauthorized and unlawful

 use of Dynamite’s trade dress.

       68. The Music Bed’s unauthorized use of the “look

 and feel” of the Dynamite WALLET NINJA multi-function


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 tool, in connection with unauthorized sale of knock off

 products is causing confusion among purchasers and

 potential purchasers of Dynamite’s products.

        69. The acts by Defendant’s described above

 constitute an infringement and misappropriation of

 Dynamite’s rights in and to the use of the “look and

 feel” of the Dynamite WALLET NINJA multi-function tool,

 with consequent damages to Dynamite and the business

 and goodwill associated with and symbolized by

 Dynamite’s trade dress, and, specifically, give rise to

 this claim under 15 U.S.C. § 1125.

        70. Defendants’ acts of unfair competition have

 caused and are causing great and irreparable harm to

 Dynamite, Dynamite’s goodwill, and Dynamite’s rights in

 and to the “look and feel” of the Dynamite WALLET NINJA

 multi-function tool, in an amount which cannot be

 adequately determined at this time and, unless

 restrained, will cause further irreparable injury and

 damage, leaving Dynamite with no adequate remedy at

 law.


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       71. On information and belief, Defendants’ acts of

 infringement and misappropriation have been and are

 being committed with actual knowledge of Dynamite’s

 prior rights in the “look and feel” of the Dynamite

 WALLET NINJA multi-function tool, and are willful and

 in gross disregard of Dynamite’s rights.

       72. By reason of the foregoing, Dynamite is

 entitled to injunctive relief against Defendants, and

 anyone associated therewith, to restrain further acts

 of unfair competition and trade dress infringement, and

 to recover any damages proven to have been caused by

 reason of Defendants’ aforesaid acts of unfair

 competition and trade dress infringement, and to

 recover enhanced damages based upon the willful,

 intentional, and/or grossly negligent activities of

 Defendants.

                                  COUNT IV

     Unfair Competition and False Designation of Origin

                           15 U.S.C. § 1125(a)




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       73. Dynamite incorporates all above allegations as

 if set forth completely herein.

       74. Dynamite owns common law trademark rights in

 and to the mark WALLET NINJA in respect of “Multi-

 function hand tools comprised of screwdrivers, hex

 wrenches, bottle opener, can opener, peeler, cell phone

 stand, box opener, letter opener, and ruler, with all

 of the foregoing goods sold as a unit”. The WALLET

 NINJA mark has been in continuous use in interstate

 commerce by Dynamite prior to any date which can be

 legally claimed by Defendants. Dynamite’s mark is

 distinctive by virtue of inherent distinctiveness

 and/or the acquired distinctiveness in the mark,

 through Dynamite’s efforts of promoting its goodwill

 and reputation in the relevant marketplace.

       75. Dynamite owns common law trademark rights to

 its unique multi-purpose and multi-function credit

 card-sized and credit card-shaped set of tools

 recognizable by having a particular shape and layout of

 the small tools on the edges and in the middle of such


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 tool, which comprises a screwdriver, hex wrench, bottle

 opener, can opener, peeler, cell phone stand, box

 opener, letter opener, and ruler, all appearing as a

 part of one unit. The tool unit has been in continuous

 use in interstate commerce by Dynamite prior to any

 date which can be legally claimed by Defendant. The

 mark is distinctive by virtue of inherent

 distinctiveness and/or the acquired distinctiveness in

 the mark, through Dynamite’s efforts of promoting its

 goodwill and reputation in the relevant marketplace.

       76. Defendants knowingly and willfully have been

 and continue to advertise and sell (i) identically or

 nearly identically looking tool, except for a few minor

 changes, and/or (ii) tool which is identical to the

 unique design owned by Dynamite without authorization

 by Dynamite in the State of New York, and (iii) at a

 price substantially lower that that of the Plaintiff’s

 ($9.99 for the Plaintiff’s tool, versus $1.40 for the

 Defendant’s tool), and across numerous other states

 where Dynamite and Defendants conduct business.


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       77. Use by Defendants of (i) the WALLET NINJA mark

 and/or (ii) the unique design of Dynamite’s multi-

 purpose tool in commerce is likely to cause confusion

 and has caused confusion, in the marketplace misleading

 the public into thinking Defendants’ unauthorized use

 is somehow associated with Dynamite, causing

 competitive injury to Dynamite, its WALLET NINJA mark

 and its tool.

       78. Acts of Defendants as alleged herein

 constitute, among other things, false designations of

 origin, false or misleading descriptions of fact, or

 false or misleading representations of fact which are

 likely to cause confusion or mistake, or to deceive the

 public as to the origin, sponsorship, or approval of

 the services of defendant, and otherwise constitute

 infringement and unfair competition in violation of 15

 U.S.C. § 1125(a).

       79. As a direct and proximate result of Defendants’

 acts, Dynamite has suffered injury, including

 irreparable injury, and damages, including lost


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 profits, reasonable royalties, and other damages in an

 amount to be determined at trial.

                                   COUNT V

      Common Law Trademark Infringement and Trade Dress

              Infringement, NY State, NY GBL § 360-k

       80. Dynamite incorporates all above allegations as

 if set forth completely herein.

       81. Plaintiff repeats and re-alleges each and every

 allegation in the foregoing paragraphs as if fully set

 forth herein. Plaintiff is the owner of common-law

 trademark rights in Plaintiff’s Mark and Trade Dress in

 New York and throughout the United States. These rights

 are senior and superior to any rights, which Defendants

 may claim. Defendants have used in commerce, without

 Plaintiff’s consent, marks and trade dress that are

 identical or confusingly similar to Plaintiff’s Mark

 and Trade Dress. Defendants’ use of Plaintiff’s Mark

 and Trade Dress is likely to cause consumer confusion,

 deception, or mistake among consumers as to the origin,

 source, sponsorship, affiliation, or approval by


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 Plaintiff of Defendant’s goods, in violation of New

 York common law as preserved by New York General

 Business Law § 360-k.

       82. Defendant’s conduct as described above has been

 intentional, willful, deliberate, malicious, and

 intended to injure Plaintiff, in clear disregard of

 Plaintiff’s legal rights. Plaintiff has no adequate

 remedy at law inasmuch as money damages alone would not

 adequately compensate Plaintiff for the harm to its

 rights, goodwill, and business reputation, with every

 lost sale of Plaintiff’s. Defendant’s acts described

 above greatly and irreparably damage Plaintiff and will

 continue to damage Plaintiff unless enjoined by this

 Court.

       83. Dynamite owns common law trademark rights in

 and to the mark WALLET NINJA for a multi-function tool.

 The WALLET NINJA mark has been in continuous use in

 interstate commerce by Dynamite prior to any date which

 can be legally claimed by Defendants. Dynamite’s mark

 is distinctive by virtue of inherent distinctiveness


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 and/or the acquired distinctiveness in the mark,

 through Dynamite’s efforts of promoting its goodwill

 and reputation in the relevant marketplace.

       84. Dynamite owns common law trademark rights to

 its unique credit card shaped and sized 18-in-one tool

 is very distinct and recognizable by having a

 particular shape and layout of the small tools on the

 edges and in the middle of such               tool, which comprises

 a screwdriver, hex wrench, bottle opener, can opener,

 peeler, cell phone stand, box opener, letter opener,

 and ruler, all appearing as a part of one unit. The

 tool unit has been in continuous use in interstate

 commerce by Dynamite prior to any date which can be

 legally claimed by Defendant. The mark is distinctive

 by virtue of inherent distinctiveness and/or the

 acquired distinctiveness in the mark, through

 Dynamite’s efforts of promoting its goodwill and

 reputation in the relevant marketplace.

       85. Defendants knowingly and willfully have and

 continue to advertise and sell (i) knock off 18-in-one


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 tools that look identical to Plaintiff’s tools, (ii)

 use Plaintiff’s Wallet Ninja trademark as a key work in

 its adwords advertisement on the Internet in order to

 divert traffic from Plaintiff’s website and (iii)

 credit card sized tools which are identical to the

 unique design owned by Dynamite without authorization

 by Dynamite in the State of New York, and across

 numerous other states where Dynamite and Defendants

 conduct business.

       86. Use by Defendants of (i) Plaintiff’s mark

 and/or (ii) the unique design in commerce is likely to

 cause confusion and has caused confusion, in the

 marketplace misleading the public into thinking

 Defendants’ unauthorized use is somehow associated with

 Dynamite, causing competitive injury to Dynamite, its

 WALLET NINJA mark and the multi-function tool.

       87. On information and belief, Defendants acted

 with knowledge of Dynamite’s ownership of (i) WALLET

 NINJA mark and (ii) Plaintiff’s toold design and with




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 deliberate intention or willful blindness to unfairly

 benefit from the goodwill associated with same.

       88. Defendants’ acts constitute trademark

 infringement and unfair competition in violation of the

 common law of New York.

       89. On information and belief, Defendants have made

 and will continue to make substantial profits and gains

 to which either is not in law or equity entitled.

       90. On information and belief, Defendants will

 continue infringing acts, unless restrained by this

 Court.

       91. Defendants’ acts have damaged and will continue

 to damage Dynamite, and Dynamite has no adequate remedy

 at law.

       92. The conduct herein complained of was extreme

 and was inflicted on Dynamite in reckless disregard for

 its rights. The conduct was in bad faith, harmful to

 Dynamite, and as such supports an award of exemplary

 and punitive damages in an amount sufficient to punish

 Defendants and deter such conduct in the future.


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       93. Defendants’ appropriation and actual use in

 connection with counterfeit goods of Dynamite’s

 trademark (i) WALLET NINJA and (ii) multi-funtction

 tool design and the goodwill and reputation associated

 therewith and attached thereto, constitutes unfair

 competition in violation of New York State Law, i.e.,

 New York General Business Law §§ 349 - 350-f.

       94. In light of the foregoing, Dynamite is entitled

 to injunctive relief prohibiting DEFENDANTS from

 infringing the WALLET NINJA mark and multi-function

 tool design, and to recover all damages, including

 attorneys’ fees, that Dynamite has sustained and will

 sustain, and all gains, profits, and advantages

 obtained by Defendants as a result of their infringing

 acts alleged above in an amount not yet known, and the

 costs of this action.

                                  COUNT VI

                            Unjust Enrichment

       95. Dynamite re-alleges every allegation in the

 preceding paragraphs.


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       96. The acts complained of above constitute unjust

 enrichment of Defendants at the expense of Dynamite in

 violation of the common law of the State of New York.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a trial by jury and

 requests that the Court enter judgment as follows:

       (a) Enter judgment against Defendants in favor of

             Dynamite for the violations alleged in this

             Complaint;

       (b) Compelling Defendants to account to Dynamite

             for any and all profits derived by Dynamite as

             a result of their infringing acts;

       (c) Award Dynamite all damages sustained by it as a

             result of Defendants’ wrongful acts and all

             profits realized by Defendants due to its

             wrongful acts, pursuant to 35 U.S.C. §§ 284 and

             285;

       (d) At Dynamite’s election, awarding statutory

             damages in the maximum amount against Dynamite




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             for infringement of Dynamite’s design patent,

             pursuant to 35 U.S.C. §§ 284 and 285;

       (e) Award attorneys' fees and costs pursuant to 35

             U.S.C. §§ 284 and 285;

       (f) Directing Defendants to pay over to Dynamite

             its costs, disbursements and reasonable

             attorneys’ fees and expenses, together with

             pre-judgment interest incurred by Dynamite in

             relation to trying to stop the infringement by

             the Defendants by way of contacting Defendants

             through Plaintiff’s attorneys, demanding that

             Defendants in fact stop such infringement;

       (g) For a preliminary and permanent injunction,

             restraining Defendants and its affiliates,

             divisions, officers, directors, principals,

             servants, employees, successors and assigns,

             and all those in active concert or

             participation with it from:

                  i. Directly or indirectly infringing in any

                      manner Dynamite’s design patent; and


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                ii. From causing, contributing to, enabling,

                      facilitating, or participating in the

                      infringement of Dynamite’s design patent

                      or other exclusive rights;

       (h) Order Defendants to pay discretionary costs and

             prejudgment interest;

       (i) Order an accounting for any knock off products

             not presented at trial and an award by the

             Court of additional damages for any such knock

             off products;

       (j) Order Defendants including all agents,

             officers, employees, representatives,

             Successors, assigns, attorneys, and all other

             persons acting for, with, by, through or under

             authority from Defendants or in concert or

             participation with Defendants, and each of

             them, be enjoined from:

                   a. advertising, marketing, promoting,

             offering for sale, distributing, or selling an




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             infringing and counterfeit credit card shaped

             and sized 18-in-one multi-function tool;

                   b. using an infringing tool and/or design

             on or in connection with any of Dynamite’s

             goods;

                   c. using any trademark, name, logo,

             design, or source designation of any kind on or

             in connection with Dynamite’s goods or services

             that is a copy, reproduction, colorable

             imitation, or simulation of, or confusingly

             similar to any of Dynamite’s trademarks, trade

             dresses, names, or logos; and,

                   e. using any trademark, name, logo,

             design, or source designation of any kind on or

             in connection with Dynamite’s goods that is

             likely to cause confusion, mistake, deception,

             or public misunderstanding that such goods or

             services are produced or provided by Dynamite,

             or are sponsored or authorized by Dynamite, or




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             are in any way connected or related to

             Dynamite;

       (k) Defendants be ordered to cease offering for

             sale, marketing, promoting, and selling and to

             recall all infringing goods, or any other goods

             bearing the Dynamite mark or trade dress or any

             other a confusingly similar imitation thereof

             that is in Defendants’s possession or has been

             shipped by Defendants or under their authority,

             to any customer, including, but not limited to,

             any wholesaler, distributor, retailer,

             consignor, or marketer, and also to deliver to

             each such store or customer a copy of this

             Court’s order as it relates to said injunctive

             relief against Defendants, including posting

             same on any and all website and media owned or

             controlled by Defendants including but not

             limited to Facebook;

       (l) Defendants be ordered to deliver up for

             impoundment and for destruction, all knock off


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             tools, boxes, labels, tags, signs, packages,

             receptacles, advertising, sample books,

             promotional materials, stationery, or other

             materials in the possession, custody or under

             the control of Defendants that are found to

             adopt or infringe any of Dynamite’s trademarks

             or that otherwise unfairly compete with

             Dynamite and its products;

       (m) Defendants be compelled to account to Dynamite

             for any and all profits derived by Defendants

             from the sale or distribution of the infringing

             tools;

       (n) Retaining jurisdiction of this action in this

             Court for the purpose of enabling Dynamite to

             apply to the Court at any time for such further

             orders and interpretation or execution of any

             order entered in this action, for the

             modification of such order, for the enforcement

             or compliance therewith, and for the punishment

             of any violation thereof;


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       (o) Require Defendants to publish on his website,

             and anywhere else he mentions WALLET NINJA, to

             state that WALLET NINJA and the multi-function

             18-in-one tool is sole property of Dynamite and

             that any prior statements of association with

             Dynamite or WALLET NINJA are false and that

             this statement has been ordered by a Federal

             Court;

       (p) Require Defendants to immediately stop using

             WALLET NINJA as keywords in their adword

             advertisements on the Internet;

       (q) That Defendants unjustly enriched themselves

             and that Dynamite be awarded damages arising

             out of the unjust enrichment;

       (r) That Dynamite asks this Court to enter judgment

             in favor of it finding that Defendants violated

             the Lanham Act;

       (s) Ordering that the US Customs and Border

             Protection heretofore seizes and arrests any

             and all of Defendants’ infringing goods, such


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             as the knock off tools in question, that

             violate Plaintiff’s design patent rights,

             trademark rights, and other rights;

       (t) Enjoining Defendants from making false and

             misleading descriptions of fact to potential

             customers and to the consuming public;

       (u) Awarding prejudgment interest and costs;

       (v) Finding this to be an exceptional case and

             awarding reasonable attorneys’ fees to

             Dynamite;

       (w) Based on Defendants willful and deliberate

             infringement, and to deter such conduct in the

             future, Dynamite requests punitive damages

             including prejudgment and post-judgment

             interest on all monetary awards, and to award

             treble damages to Plaintiff;

       (x) Grant Dynamite such other and further relief,

             at law or in equity, to which Dynamite is

             justly entitled.




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                                JURY DEMAND

       Plaintiff demands a trial by jury on all issues

 permitted to be tried by jury.

                                            /S/ Sergei Orel
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